         Case 3:11-cr-01448-MMA                           Document 1696                Filed 06/18/14             PageID.6426               Page 1 of
                                                                                  4
    ~o 2450 (CASO)       (Rev 4114) Judgment in a Criminal Case for Revocations
               Sheet I



                                               UNITED STATES DISTRICT COURT
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                                                                                                                               I !4 v.'"           ? Ui
                                                                                                                                                   I"':i   10: c:V 9
                                                     SOUTHERN DISTRICT OF CALIFORNIA
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                   UNITED STATES OF AMERICA                                           JUDGMENT IN A CRIMINAL CASE nt
                                          V.                                          (For Revocation of Probation or Supervised Release)
                                                                                                          • •                                 DE1' UTY
                                                                                                                                                      V,.l
                 DOMINIQUE CORTEZ LITTLE                                              (For Offenses Conllnttted On or After November 1, 1987)


                                                                                      Case Number: IlCR1448 MMA

                                                                                      CASEY J. DONOVAN
                                                                                      Defendant's Attorney
    REGISTRATION No. 17377298
o   THE DEFENDANT:
     o  admitted guilt to violation of allegation(s) No.....1_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

     o was found in violation of allegation(s) No.                                                           after denial of guilt.
    ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following allegation(s):


    Allet!ation Number                    Nature of Violation
                               Unauthorized association with criminals/felons (nvI4)




      Supervised Release       is revoked and the defendant is sentenced as provided in pages 2 through                        4        of this judgment.
    This sentence is imposed pursuant to the Sentencing Reform Act of 1984.


             IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any
    change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are
    fully paid. If ordered to pay restitution, the defendant shall notify the court and UnIted States Attorney of any material change in the
    defendant's economic circumstances.




                                                                                      HON. MICHAEL M. ANELLO
                                                                                      UNITED STATES DISTRICT JUDGE




                                                                                                                                            11CRI448 MMA
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AO 245D (CASD) (Rev 4/14) Judgment in a Criminal Case for Revocations       4
           Sheet 2 Imprisonment

                                                                                                        Judgment - Page      2    of        4
 DEFENDANT: DOMINIQUE CORTEZ LITTLE
 CASE NUMBER: llCR1448 MMA
                                                                 IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a term of
          TWO (2) MONTHS




    o The court makes the following recommendations to the Bureau of Prisons:


     o The defendant is remanded to the custody of the United States Marshal.
     o The defendant shall surrender to the United States Marshal for this district:
            Oat                                       Oa.m.         Op.m.    on
                as notified by the United States Marshal.

     o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
           o before ----------------------------------------------------------------------------
           o as notified by the United States Marshal.
           o as notified by the Probation or Pretrial Services Office.
                                                                        RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                           to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                                      UNITED STATES MARSHAL

                                                                            By
                                                                                 -----------~D~E~P~UT~Y~UN~IT~E~~-S~T~A~T~E~S-MA~R~S~HAL~------------




                                                                                                                                 11 CR1448 MMA
          Case 3:11-cr-01448-MMA                     Document 1696            Filed 06/18/14            PageID.6428            Page 3 of
AO 245D (CASD) (Rev.4/14) Judgment in a Criminal Case for Revocations     4
           Sheet 3 Supervised Release
                                                                                                           Judgment-Page   --.:L- of _ _..:.4_ __
DEFENDANT: DOMINIQUE CORTEZ LITTLE                                                                 D
CASE NUMBER: llCR1448 MMA
                                                          SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of:
FIFTY-THREE (53) MONTHS

         The defendant shall report to the probation office in the district to which the defendant is released within 72 hours of release from
the custody of the Bureau of Prisons.
The defendant shall not commit another federal, state or local crime.
For offenses committed on or after September 13, 1994:
The defendant shall not illegally possess a controlled substance. The defendant shall refrain from any unlawful use of a controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug tests
thereafter as determined by the court. Testing requirements will not exceed submission of more than 4 drug tests per month during
the term of supervision, unless otherwise ordered by court.                                          -­

D The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
        future substance abuse. (Check, if applicable.)
[8J     The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon.

181 Backlog
    The defendant shall cooperate in the collection of a DNA sample from the defendant. pursuant to section 3 of the DNA Analysis
            Elimination Act of 2000, pursuant to 18 USC sections 3563(a)(7) and 3583(d).
D The  detendant shall comply with die requirements ofthe Sex OffenderRegistration ana Notification Act (42 U.S.C. § 16901, et seq.) as directed
  by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides, works, is a student, or
        was convicted of a qualifying offense. (Check if applicable.)
D The defendant shaH participate in an approved program for domestic violence. (Check, if applicable.)
          If this judgment imposes a fine or restitution obligation, it is a condition of supervised release that the defendant pay any such fine
or restitution that remains unpaid at the commencement of the term of supervised release in accordance with the Schedule of Payments set
forth in this judgment.
        The defendant must comply with the standard conditions that have been adopted by this court. The defendant shall also comply with
any special conditions imposed.


                                        STANDARD CONDITIONS OF SUPERVISION
  1)     the defendant shall not leave the judicial district without the permission of the court or probation officer;
  2)     the defendant shall report to the probation officer in a manner and frequency directed by the court or probation officer;
  3)     the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer;
  4)     the defendant shall support his or her dependents and meet other family responsibilities;
  5)     the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
         acceptable reasons;
  6)     the defendant shaH notify the probation officer at least ten days prior to any change in residence or employment;
  7)     the defendant shall refrain from excessive use of alcohol and shall not purchase, possess, use, distribute, or administer any
         controlled substance or any paraphernalia related to any control1ed substances, except as prescribed by a physician;
  8)     the defendant shal1 not frequent places where controlled substances are illegally sold, used, distributed, or administered;
  9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associate with any person convicted of
         a felony, unless granted permission to do so by the probation officer;
 10)     the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and shall permit confiscation of any
         contraband observed in plain view of the probation officer;
 11 )    the defendant shall notify the probation officer within seventy-two hours ofbeing arrested or qu estioned by a law enforcement officer;
 12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
         permission of the court; and
 13)     as directed by the probation officer, the defendant shall notify third parties ofrisks that may be occasioned by the defendant's criminal
         record or personal history or characteristics and shall permit the probation officer to make such notifications and to confIrm the
         defendant's compliance with such notification requirement.

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                                                                4


    AO 2458   (Rev. 9/00) Judgment in a Criminal Case
              Sheet 3    Continued 2 - Supervised Release
                                                                                  Judgment-Page _4_ of _ _4
    DEFENDANT:              DOMINIQUE CORTEZ LITTLE (29)

                                    SPECIAL CONDITIONS OF SUPERVISION
I. Participate in a program of drug or alcohol abuse treatment, including urinalysis or sweat patch testing and counseling,
as directed by the probation officer. Allow for reciprocal release of information between the probation officer and the
treatment

2. Resolve all outstanding warrants within 60 days.

3. Submit person, residence, office or vehicle to a search, conducted by a United States Probation Officer at a reasonable
time and in a reasonable manner, based upon reasonable suspicion of contraband or evidence of a violation of a condition
of release; failure to submit to a search may be grounds for revocation; the defendant shall warn any other residents that
the premises may be subject to searches pursuant to this condition.

4. Not accept or commence employment without prior approval ofthe probation officer, and employment should be
subject to continuous review and assessment by the probation officer.

5. Consent to third party disclosure to any employer, potential employer, concerning any restrictions that are imposed by
the court.

6. Reside in a residence approved in advance by the probation officer, and any changes in residence shall be
pre-approved by the probation officer.

7. Shall not associate with any known probationer, parolee, or gang member, including but not limited to any NWS
affiliate.

8. Shall not possess, wear, use or display or have in his possession any item associated with gang dress or any item
prohibited by the probation officer, including but not limited to any insignia, emblem, badge, cap, hat, scarf, bandanna, or
any article of clothing, hand sign or paraphernalia associated with membership or affiliation in any gang.

9. Not associate with or have any contact with any known pimps and/or known prostitutes, unless in an approved
treatment or counseling setting.

10. Shall not associate with any known probationer, parolee, or gang member, including but not limited to any Insane
Crip Gang member or affiliate, Deep Valley Crip or affiliate, or Crook, Mob, Gangsters, or affiliate or anyone
specifically disapproved by the probation officer.

11. Defendant shall not loiter, or be present in locations known to be areas where known gang members congregrate,
unless given permission to do so by the probation officer.

12. Be monitored for a period of 12 months, with the location monitoring technology at the discretion of the probation
officer. The offender shall abide by all technology requirements and shall pay all or part of the costs of participation in
the location monitoring program, as directed by the court and/or the probation officer. In addition to other court-imposed
conditions of release, the offender's movement in the community shall be restricted as specified: Defendant is restricted
to his residence every day from 6:00pm to 6:00am, as directed by the probation officer.

13. Shall not wear or possess any paraphernalia, insignia, clothing, photographs, or any other materials associated with a
gang, unless given permission by the probation officer.
